Case 3:22-cv-00049-NKM-JCH Document 189 Filed 03/17/23 Page 1 of 4 Pageid#: 2342




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION


  ------------------------------------X
  BABY DOE, A CITIZEN OF AFGHANISTAN     :
  CURRENTLY RESIDING IN NORTH            :                   CIVIL ACTION NO. 3:22-CV-49
  CAROLINA, BY AND THROUGH NEXT          :
  FRIENDS, JOHN AND JANE DOE;AND JOHN :
  AND JANE DOE, CITIZENS OF AFGHANISTAN :
  AND LEGAL GUARDIANS OF BABY DOE,       :
                                         :
       Plaintiffs,                       :
                                         :
  v.                                     :
                                         :
  JOSHUA MAST, STEPHANIE MAST, RICHARD :
  MAST, KIMBERLEY MOTLEY, AND AHMAD :
  OSMANI,                                :
                                         :
       Defendants,                    :
                                       :
  and                                  :
                                       :
  UNITED STATES SECRETARY OF STATE    :
  ANTONY BLINKEN AND UNITED STATES :
  SECRETARY OF DEFENSE GENERAL         :
  LLOYD AUSTIN,                       :
                                      :
       Nominal Defendants.            :

  ------------------------------------X


     PLAINTIFFS’ MOTION TO SEAL EXHIBIT 4 TO PLAINTIFFS’ OPPOSITION
   TO DEFENDANT RICHARD MAST’S MOTION TO VACATE PROTECTIVE ORDER

         Plaintiffs, by counsel, respectfully move for leave to file Exhibit 4 to Plaintiffs’ Opposition

  to Defendant Richard Mast’s Motion to Vacate Protective Order under seal, pursuant to Local

  Civil Rule 9. The Exhibit sought to be filed under seal is being filed electronically with the Court

  contemporaneously herewith, as required by Local Civil Rule 9. As further grounds for this
Case 3:22-cv-00049-NKM-JCH Document 189 Filed 03/17/23 Page 2 of 4 Pageid#: 2343




  motion, Plaintiffs refer to the Memorandum in Support of this Motion, filed contemporaneously

  herewith. A proposed Order is attached..

  Dated: March 17, 2023               Respectfully submitted,

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Case 3:22-cv-00049-NKM-JCH Document 189 Filed 03/17/23 Page 3 of 4 Pageid#: 2344




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                               Counsel for Plaintiffs
Case 3:22-cv-00049-NKM-JCH Document 189 Filed 03/17/23 Page 4 of 4 Pageid#: 2345




                                   CERTIFICATE OF SERVICE

          I hereby certify that on the 17th day of March 2023, I electronically filed the foregoing with

  the Clerk of the Court using the CM/ECF system, which will send a notification of such filing to

  all CM/ECF participants.



                                                         By:    /s/ Maya M. Eckstein
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